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Fil.l§£) ff?";'
|N THE UNITED STATES D|STR|CT COURT
WESTERN DlSTR|CT OF TENNESSEE 93 H,.\.

 

 

NANCY NEAGLE,

 

P|aintiff,
VS. NO. 03-2713-|\/|a
JA|\AES GANNON, ET AL

Defendants.

 

ORDER SUBST|TUT|NG COUNSEL OF RECORD FOR PLA|NTIFF

 

This cause came on to be heard upon l\/lotion of the P|aintif'f, Nancy Neagle, to
substitute Warren D. l\/|cWhirter and the law firm of McWhirter, Wyatt & E|der as attorney of
record for Plaintiff in place of |Vle|issa Holt Yopp and |Vlark Bowman and the Law Otfices of
Gary Green. There being no objection to the lV|otion pursuant to the Certificate of Consu|tation
filed herein, the Court is otthe opinion that the Motion is We|| taken and should be granted

|T IS THEREFORE ORDERED, ADJUDGED AND DECREED THAT:

1. Warren D. |V|cVVhirter and the law firm of lVlcVVhirter, Wyatt & E|der are hereby
substituted as counsel of record forthe Plaintiff in place of |Vle|issa Holt Yopp
and l\/|ark Bowman and the Law Offices of Gary Green,l

2. That l\/|e|issa Holt Yopp, l\/lark Bowman and the LaW Offices ofGary Green are
hereby relieved of any further responsibility in the cause;

3. As of the date of this Order, no further Notice, service or pleading need be
served upon l\/|elissa Holt Yopp, lV|ark Bovvrnan or the Law Offices of Gary

Green, but instead should be made upon Warren D. |V|cVVhirter, attorney at |aw,

Thi`s document entered on the docket sheet l/n comp ii____ac e:D
With Hule 58 and/or 79(3) FFlCP on Z/ ‘ 135-p-

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73 Union Avenue, |Vlemphis, Tennessee 38103, telephone number 901/522-
1813, facsimile number 901/525-3915.

lT |S SO ORDERED this H day Of Nlay, 2005.

M

. , ., m i/L. 83th
United States Dis%i=ie%-Judge

rem

 

 

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 27 in
case 2:03-CV-027]3 Was distributed by faX, mail, or direct printing on
May ]1, 2005 to the parties listed.

ESSEE

 

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Mark Bowman

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Honorable Samuel Mays
US DISTRICT COURT

